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See ECF No. 64 at 7 ("In Lieu of Pending Transcript"); ECF No. 63
/s/ Clinton Brown
                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA
        Clinton Brown v. Smead
        Case No. 2:23-cv-02972
        Date: June 6, 2024
        Time: 2 P.M.
        MAY IT PLEASE THE COURT:

        Introduction:

               Brown borrowed money from Smead, secured by property, with a promise to
        repay the money at some predetermined time, and Smead had a right to take the property
        if Brown failed to pay the borrowed amount at the predetermined time. On its face, this
        resembles a mortgage on a home, which is not an investment contract or note under
        Federal security laws.
               But look closer and it becomes clear that this case is an age-old tale of greed and
        misappropriation of property, by the defendant’s failure to disclose information that a
        reasonable investor would find necessary to make a call, on whether to roll the dice at a
        market opportunity. See Basic Inc. v. Levinson, 485 U.S. 224, 231-232 (1988).

                But this is not the feudal age, it is the “buyer & seller beware” age. And certainly
        not the winner-take all-economy of yesteryear. But before we get there, the Plaintiff will
        put a finer point on the fact that Smead issued and sold an unregistered investment
        contract (i.e. a security) to the Plaintiff in contravention of the 1933 Securities Act.
        Courts have found such ‘instruments of a variable character to be ‘investment contracts’
        from cemetery plots to chinchilla breeding to earthworm farms to crypto assets and of
        course, the quintessential of them all, real estate developments.

        Smead Sold an Investment Contract to Brown

        The Howey test lays out what an investment contract is under Federal security laws:

            1. Investment of Money

            2. In a Common Enterprise

            3. With an Expectation of Profits
            4. To be Derived from the Efforts of Others

               Smead issued the deeds of trust because he was interested in Brown’s plans to
        develop solar farm businesses. See FAC. ¶ 57. Smead expected to profit from Brown’s
        businesses. See FAC ¶ 67. Brown and Smead communicated extensively via email, text,
        and phone calls between 2020 and 2023. See FAC ¶¶ 59, 60.
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     Has anyone but the Plaintiff in this Court spoke to their lender for over 10 hours in one
     year? Has anyone but the Plaintiff in this Court send & exchange almost 300 emails in
     one year? Has anyone in this Court besides the Plaintiff correspond with their lender on
     one-year voluminous text exchanges?
             If, the Plaintiff’s factual allegations, which the Court generally… must accept the
     factual allegations in the pleadings as true and view them in the light most favorable to
     the plaintiff then this is a prima facia case of what constitutes an investment contract
     under Federal security laws. If the Court chooses an investment contract test route or to
     take the family resemblance test route…all roads to Smead issuing an unregistered
     security in contravention of the Securities Act of 1933.

             The definition of a security is ‘virtually the same’ in the Acts, although the Acts
     effectuate different goals of the Congress, but, lest we forget the ‘remedial’ purpose of
     1933 Security Act is to prevent frauds. So, to prevail on a Rule 10(b) claim there must be
     a security. Thus, an illegal investment contract can be registered with the SEC to correct
     that error on the EDGAR system. In other words, by registering the investment contract
     with the SEC the parties can record the investment contract in the public record subject to
     public & SEC scrutiny. Registration is a powerful deterrence to violations of Rule
     10(b)(5). Finding and Ordering compliance with the 1933 Act’s registration requirements
     will allow the parties to have a chance to equitably divide the investment contract & if the
     parties cannot solve the equitable ownership issues themselves, then the parties can move
     forward with any Rule 10(b) claims they may have.

            In the alternative, the defendant has taught the plaintiff how to successfully
     disguise investment contracts as the hum of the drum market real estate transaction which
     are apparently exempt from any Federal security law oversight.
            So, here’s the deal when I get the Order of this Court. And the investing public
     should take notice because I’m going to do what the defendant did to me, to them.
        1. Loan money to a very driven first-time property developer, let’s call him “Go-
           Getter,” “Go-Getter” doesn’t have real estate assets & the only way he can pay me
           back is make the development successful.
        2. I’ll write up note & a deed of trust and I’ll lend that property to “Go-Getter” &
           he’ll set out work on improving the property and feed me information about the
           property along the way.
        3. When he inevitable can’t pay, I’ll tell him, hey, don’t worry about paying just yet,
           just keep working on the project and as a trade-off I’ll ask “Go-Getter” to keep
           feeding me information about the development along the way….
        4. In the meantime, I’ll rack up interest payments & late fees on the note, even
           though I said, “hey, ‘Go-Getter’ don’t worry about paying just yet.
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        5. Then, at my discretion & when the market is right, I’ll foreclose on the loan and
           take the property I leant to ‘Go-Getter’
        6. And with a cherry on top, “Go-Getter” will be on the hook to pay me back or
           “Go-Getter” will be forced into bankruptcy.
        7. But in no event, will “Go-Getter” get the property I leant him, back in his
           “possession”. Because, in reality, it was mine from the Get-Go…And because I
           only lend to Go-Getters with my private money, I make the rules without much, if
           any real Federal oversight… after all, these are just personal loans and if I comply
           with state loan laws then I have a real chance of a very successful business model,
           by acquiring valuable property without a lick of effort on on the backs of a ‘Go-
           Getter’
        8. All this because Congress didn’t think that a “scheme” like the one claimed by the
           Plaintiff was in the family of investment contracts, as a securit[y] of a more
           variable character, or even a note.
             In reality, this type of market transaction between the defendant and the plaintiff
     is truly a great disservice to the Congress’s aim of promot[ing] fair and transparent
     securities markets, “avoid[] frauds,” and “substitute a philosophy of full disclosure for the
     philosophy of caveat emptor and thus to achieve a high standard of business ethics in the
     securities industry. (i.e. markets, whether face-to-face or around the world.) Marine Bank
     is not controlling here, as there was another Federal agency, the FDIC that secured money
     if the bank happened to commit fraud, that’s also been around since 1933, and that banks
     have extensive oversight, and the bank being sued makes sense in that case because who
     is going to sue someone insolvent and be able to collect? Here, this is a private lender
     dolling out personal loans subject to the ancient rule, you don’t pay, you don’t keep,
     when the entire economic reality was not that at all.

             So what this Court is essentially saying is investors are back in the Blue-Sky era
     or the Stone Age of the American security jurisprudence, in direct contravention to the
     Congress’s demand when Congress wrote “AN ACT [to] provide full and fair disclosure
     of the character of securities sold in interstate and foreign commerce and through the
     mails, and to prevent frauds in the sale thereof, and for other purposes”.

             Last, the foundation of our Nation’s security laws… is rooted in the 1933
     Securities Act… that Act…is simply a disclosure law… that President Roosevelt said,
     “only a dishonest man would object to its principles of disclosure” and, here, the
     defendant objects to its principles of disclosure… that only a dishonest man would do.
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     Introduction:
     Following the money (i.e. property) reveals this civil action against Smead is an age-old
     tale of greed and misappropriation. Statutory interpretation must be adjudicated based on
     established precedent & the defendant is clearly liable by a preponderance of evidence…
     just with the allegations in the FAC, that not only did he issue an investment contract
     (encompassing all the properties, not singular transactions), but that he violated Rule
     10(b)(5) under the civil misappropriation theory. The leading case precedent is SEC v.
     Panuwat, Case No. 21-cv-06322, ECF No. 18 (N.D. Cal. Jan. 14, 2022) (order denying
     motion to dismiss). Last, on April 5, 2024, Panuwat was found liable under the the
     misappropriation theory by a jury of his peers. The jury was asked a simple, yet
     fundamental question, inherent in the misappropriation theory.

     Did the SEC establish by a preponderance of the evidence that Panuwat was liable under
     the civil misappropriation theory of insider trading as explained in Jury Instructions Nos.
     16 - 21? See the Jury Instructions, ECF No. 155, in that case. The jury answered yes. See
     ECF No. 169, in that case.

     Thus, in this case, the question is, by a preponderance of evidence is Smead liable under
     the civil misappropriation theory of insider trading as explained in jury instructions Nos.
     16-21 in the Panuwat case? The answer is yes. The Plaintiff will explain to this Court in
     less than 5 minutes why this case must not be dismissed…. May I proceed, your Honor?

     In Panuwat, the Northern District of California Court, a landmark jury verdict case,
     identified six elements that a Plaintiff must prove, by a preponderance of evidence, that a
     defendant is liable under the misappropriation theory. All are here in the FAC & so
     starting with the end in mind let me run the Court through this, and at finish line it’ll be
     clear that this MTD must be dismissed with prejudice.

     Element #1. Duty of Trust, Confidence, or Confidentiality

        •   Brown and Smead had a fiduciary-like relationship based on trust and confidence.

                •   This duty can arise from their relationship, as described in FAC paragraph
                    23 because this relationship was based upon trust and confidence. Other
                    evidence of that the relationship was based on trust and confidence is
                    exhaustively laid out in emails, text messages, and phone records in the
                    FAC.
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     Element #2. Possession of Nonpublic Information

        •   Allegation: The Defendant gained access to confidential information regarding
            the value of the Plaintiff’s properties. See FAC paragraphs 35-43.

               •   Specifically, the Defendant had access to appraisal reports and other
                   confidential information that was not publicly available.

     Element #3. Misappropriation of Information

        •   Allegation: The Defendant used this confidential information for personal gain by
            taking control over the Plaintiff’s properties and making decisions based on this
            insider information. See FAC paragraphs 50-65.

               •   The Defendant misappropriated the information for securities trading
                   purposes. This involves the wrongful taking and use of confidential
                   information by the Defendant, who knew or should have known that the
                   information was meant to be kept confidential.

     Element #4. Trading Based on Information

        •   Allegation: The Defendant unceremoniously took the Plaintiff's properties in a
            "so-called" public auction, using insider knowledge to his advantage See FAC
            paragraph 50.

               •   The Defendant bought or sold securities (in this case, real estate
                   investment contracts) based on the misappropriated information. The
                   complaint shows that the Defendant’s decision to trade was significantly
                   influenced by the material nonpublic information.

     Element #5. Knowledge or Recklessness

        •   Allegation: The complaint alleges that the Defendant knowingly used insider
            information to gain an advantageous market position, defrauding the Plaintiff. See
            FAC paragraph 80.

               •   The Defendant knew that the information was both nonpublic and material
                   or acted recklessly in not knowing this. The Defendant's actions can only
                   be described as knowing and with intent to deceive.

     Element #6. Lack of Consent

        •   Allegation: The Defendant did not have permission to use the confidential
            information in the way that they did. See FAC 47 & 48.
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               •   The Defendant lacked consent from the Plaintiff to use the information for
                   securities trading purposes, and in fact, he deceitfully forced consent.

     Summary of Argument:

             The FAC and the alleged evidence therein clearly support the PSLRA standard,
     Rule 9B, Rule 8 and the Rule of common sense…by a preponderance of the evidence,
     which if proven true… means the defendant has violated Federal securities laws. This
     isn’t the cart before horse here. The FAC plainly lays out why this is an investment
     contract based on what the Congress set out for the term ‘investment contract’ to mean,
     as further expounded by Howey (and even before Howey in numerous District &
     Appellate Court decisions) and its progeny.

     Conclusion:
            Congress didn’t “throw out the baby with the bathwater” in the PSLRA. In fact,
     Congress has built on these reforms with SLUSA in 1998, Sarbanes-Oxley Act in 2002,
     Dodd-Frank Act in 2010 & the JOBS Act in 2012. Those post-PSLRA acts didn’t close
     the Courthouse gates, but in fact, opened them a little wider.

             And last, the foundation of our Nation’s security laws… is rooted in the 1933
     Securities Act… that Act…is simply a disclosure law… that President Roosevelt said,
     “only a dishonest man would object to its principles of disclosure” and, here, the
     defendant objects to its principles of disclosure… that only a dishonest man would do.

     Thank you,

     Your Honor.
